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                                    In The
                        United States Court of Appeals
                                    For the
                                Third Circuit

                               ____________________
                                  Case No. 17-3207

  TOWNSHIP OF BORDENTOWN, NEW JERSEY, AND CHESTERFIELD
    TOWNSHIP, NEW JERSEY, AND PINELANDS PRESERVATION
                        ALLIANCE

                                    Petitioners,

                                         V.

   NEW JERSEY DEPARTMENT OF ENVIRONMENTAL PROTECTION

                                    Respondent,

                                       -AND-

         TRANSCONTINENTAL GAS PIPE LINE COMPANY, LLC,

                               Intervenor-Respondent.

                    On Joint Petition for Review of Permits Issued by
                 The New Jersey Department of Environmental Protection
  (Agency Permit Nos. 0300-15-0002.2 FWW150001, 1322D DWP150001, 0300-15-0002.2
                      FHA150001, and 0300-15-0002.2 FHA150002)
            BRIEF OF INTERVENOR-RESPONDENT,
       TRANSCONTINENTAL GAS PIPE LINE COMPANY, LLC.

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                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest

                                                   17-3207
                                             No. _________
                 TOWNSHIP OF BORDENTOWN, NEW JERSEY,
                 CHESTERFIELD TOWNSHIP, NEW JERSEY, and
                 PINELANDS PRESERVATION ALLIANCE,
                                                           v.
                 NEW JERSEY DEPARTMENT OF ENVIRONMENTAL
                 PROTECTION,

                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


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                                                        Transcontinental Gas Pipe Line Company, LLC
Pursuant to Rule 26.1 and Third Circuit LAR 26.1,
makes the following disclosure:                                       (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: Williams Partners Operating LLC


            2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:
Williams Partners Operating LLC is a wholly-owned subsidiary of Williams Partners L.P. (NYSE:
WPZ).

Williams Gas Pipeline Company LLC owns a 74% limited partner interest in Williams Partners L.P.

Williams Gas Pipeline Company LLC is a wholly-owned subsidiary of The Williams Companies,
Inc. (NYSE: WMB).
               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
proceeding, please identify all such parties and specify the nature of the financial
interest or interests:
The Williams Companies Inc. (owns the general partnership interest in WPZ and approximately
74% of the publicly traded limited partnership interest in WPZ).

Publicly traded Garden State Expansion customer companies or publicly traded parent companies
of such customers:
* New Jersey Resources (publicly traded parent of customer New Jersey Natural Gas Company).
               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.
Not applicable.




/s/ Richard G. Scott                                    Dated:   3/28/18
(Signature of Counsel or Party)


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                       STATEMENT OF JURISDICTION

      This Court has original and exclusive jurisdiction over the Joint Petition for

Review pursuant the Natural Gas Act (“NGA”), 15 U.S.C. § 717r(d)(1). Specifically,

15 U.S.C. § 717r(d)(1) provides the United States Courts of Appeals with “original and

exclusive jurisdiction” over the review of “an order or action of a … State

administrative agency acting pursuant to Federal law to issue, condition, or deny any

permit, license, concurrence, or approval” to interstate natural gas pipeline companies

for projects subject to regulation by the Federal Energy Regulatory Commission

(“FERC”). Id.

      Here, Bordentown Township, Chesterfield Township, and the Pinelands

Preservation Alliance (collectively, “Petitioners”) filed a Joint Petition for Review on

October 11, 2017, challenging the New Jersey Department of Environmental

Protection’s (“NJDEP”) issuance of a Freshwater Wetlands Protection Act Individual

Permit (“FWW Permit”), Flood Hazard Area Control Act Individual Permit (“FHA

Permit”), Flood Hazard Area Verification (“FHA Verification”), and Temporary

Dewatering Permit to Transcontinental Gas Pipe Line Company, LLC (“Transco”) in

connection with Transco’s Garden State Expansion Project (“Project”). As previously

held by this Court, FWW Permits are granted pursuant to federal law, as theses permits

constitute the Water Quality Certificate (“WQC”) under Section 401 of the Clean

Water Act, 33 U.S.C. § 1341(a)(1), and the dredge and fill permit under Section 404 of
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the Clean Water Act, 33 U.S.C. § 1344. Del. Riverkeeper Network v. Sec’y, Pa. Dep’t

of Envntl. Prot., 833 F.3d 360, 369-70 (3d Cir. 2016); N.J.A.C. 7:7A–2.1(d); N.J.A.C.

7:7A–19.5(a).

      This Court also held that it had jurisdiction over the review of the FHA Permit,

even though that permit, in and of itself, is not a delegated permit under federal law.

This Court reasoned:

             Given that the Freshwater Wetlands Individual Permit
             constitutes both the Section 404 permit and the Water
             Quality Certification, and that, under Section 401 of the
             Clean Water Act, “any other appropriate requirement of
             state law set forth in [the] certification” will be treated as a
             condition on the federal permit affected by the
             certification—in this case, the Section 404 permit.

Del. Riverkeeper Network v. Sec’y, Pa. Dep’t of Envntl. Prot., 833 F.3d at 373 (quoting

33 U.S.C. § 1341(d)). To that end, this Court held that it had jurisdiction over

Transco’s FHA Permit “as conditions set forth in the Water Quality Certification.” Id.

In addition, this Court would have jurisdiction over the FHA Verification as it is

integral to the issuance and review of the FHA Permit. See N.J.A.C. 7:13–5.5(a)(the

flood hazard area design flood elevation, and floodway limit, where present, must be

known and verified within the project area pursuant to N.J.A.C. 7:13-5.2 in order for

the [NJDEP] to determine compliance with the requirements of [the Flood Hazard

Area Control Act] and issue an authorization under a general permit or an individual

permit.”). Similar to the Letter of Interpretation at issue in Del. Riverkeeper Network

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v. Sec’y, Pa. Dep’t of Envntl. Prot., the FHA Verification is “part and parcel” of the

FHA Permit, and subject to this Court’s review. Del. Riverkeeper Network v. Sec’y,

Pa. Dep’t of Envntl. Prot., 833 F.3d at 373.

      Insofar as the Temporary Dewatering Permit is a condition of the FWW Permit,

this Court also has jurisdiction over the Temporary Dewatering Permit. Specifically,

the FWW Permit condition provides that prior to Transco beginning construction it

must have first obtained the Dewatering Permit. See JA, Vol. I, 8 (FWW Permit, Pre-

Construction Condition #2). The condition further provides that, in the event “the

Dewatering Permit requires amendments to [the FWW Permit], [Transco] must secure

all such amendments as part of its pre-construction conditions.” Ibid. 1

      Accordingly, this Court has jurisdiction over the Joint Petition for Review.




1 The NJDEP also included a special permit condition which essentially sets forth the
pertinent terms of the settlement of the condemnation action filed by Transco against
Bordentown Township (in which the NJDEP was also named as an interested party)
for permanent and temporary easements across Township-owned property that is
Green Acres restricted. See JA, Vol I., 8 (FWW Permit). These permit conditions
have no nexus to water quality and thus are not an “appropriate requirement” of state
law. See 33 U.S.C. § 1341(d); see also American Rivers, Inc. v. F.E.R.C., 129 F.3d 99,
107 (2d Cir. 1997)(noting that “Section 401(d)[ 33 U.S.C. § 1341(d)], reasonably read
in light of its purpose, restricts conditions that states can impose to those affecting
water quality in one manner or another”). In fact, two different divisions within the
NJDEP reviewed and issued the FWW Permit and the Temporary Dewatering Permit.
However, these permit conditions are not being challenged in this appeal.
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                     STATEMENT OF THE ISSUES PRESENTED

1.      Whether, consistent with the express language of the NGA, this Court has

        original and exclusive jurisdiction over a petition challenging an action of a state

        administrative agency acting pursuant to federal law to issue a Water Quality

        Certification under Section 401of the Clean Water Act (“CWA”) and a permit

        under Section 404 of the CWA for an interstate natural gas pipeline?

2.      Whether the NJDEP appropriately relied on the FERC’s issuance of the

        Certificate of Public Convenience and Necessity (“FERC Order” or “Certificate

        Order”) to Transco for its determination that Transco’s Project was in the public

        interest.

3.      Whether the NJDEP appropriately determined under the Freshwater Wetlands

        Protection Act (“FWPA”) that there were no practicable alternatives to the

        location of Transco’s proposed electrical substation which would have had less

        impacts on the aquatic ecosystem?

4.      Whether the NJDEP was required to analyze the impacts of New Jersey Natural

        Gas’ Southern Reliability Link in reviewing Transco’s permit applications?




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           STATEMENT OF RELATED CASES AND PROCEEDINGS

        There have been a number of related cases and proceedings, which are listed

below:

1.      People Over Pipelines Inc., et al v. State of New Jersey Department of

Environmental Protection, United States Court of Appeals for the Third Circuit,

Docket Nos. 17-1786 and 17-1788. Appeals of the Freshwater Wetlands Protection

Act Individual Permit and Dewatering Permit issued by NJDEP to Transco for the

Project. The Petitions for Review in these cases were dismissed on November 24,

2017 for failure to prosecute.

2.      Township of Bordentown, et al v. Federal Energy Regulatory Commission,

United States Court of Appeals for the Third Circuit, Docket No. 17-1047. The

Townships of Bordentown and Chesterfield are challenging FERC’s issuance of a

Certificate of Public Convenience and Necessity. The case has been fully briefed.

3.      “Motion for Stay by Bordentown and Chesterfield Townships” filed with FERC

(Docket No. CP15-89-000) on March 29, 2017. The Townships of Bordentown and

Chesterfield in New Jersey (the “Townships”) are seeking a stay of the March 24, 2017

Letter Order granting Transco’s request for a Notice to Proceed with construction of

the Project. The motion remains pending before FERC. No request for rehearing has

been filed as to the Letter Order.



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4.      Transcontinental Gas Pipe Line Company, LLC v. 0.100 Acres of Land, No.

1:16-cv-4413-RBK (D.N.J.). Transco filed this condemnation action against property

owned by Bordentown Township (“Bordentown”) for the taking of permanent and

temporary easements needed in connection with the Project. The Honorable Robert B.

Kugler, U.S.D.J. entered an Order for Condemnation (Doc. 30) on February 16, 2017

granting the easements condemned to Transco. The parties consented to going through

the Green Acres diversion process for the limited purpose of settling the issue of

compensation. Should that process be unsuccessful, the parties may return to court for

the determination of just compensation.

5.      Transcontinental Gas Pipe Line Company, LLC v. 1.613 Acres of Land, No.

1:16-cv-9368-RBK (D.N.J.). Transco filed this condemnation action for the taking of

the fee of a portion of property owned by the New Jersey Turnpike Authority. The

Honorable Robert B. Kugler, U.S.D.J. entered an Order for Condemnation (Doc. 9) on

February 7, 2017 granting the fee interest condemned to Transco. The parties entered

into a consent order settling the case.

6.      Transcontinental Gas Pipe Line Company, LLC v. Township of Chesterfield, No.

1:16-cv-05680-RBK (D.N.J. Mar. 21, 2017). Transco filed suit against the Township

of Chesterfield (“Chesterfield”) seeking declaratory and injunctive relief in connection

with Chesterfield’s denial of construction permits to Transco on zoning and other

grounds. On March 21, 2017, the Honorable Robert B. Kugler, U.S.D.J. entered an

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Order and Judgment (Doc. 33) declaring that state and local ordinances and regulations

that affect the siting, construction, or operation of Transco’s pipeline project are

preempted by federal law and constitute an undue burden on interstate commerce. The

parties entered into a stipulation of dismissal, which was signed by Judge Kugler on

June 5, 2017.

7.      Township of Chesterfield v. Transcontinental Gas Pipe Line Company, LLC,

BUR-L-660-17 (Superior Court of New Jersey, Burlington County, Law Division).

Chesterfield filed suit against Transco alleging various forms of fraud, breach of

contract, and breach of the covenant of good faith and fair dealing arising out of

Transco’s purchase of property from Chesterfield in connection with the Project.

Chesterfield filed a Voluntary Stipulation of Dismissal with Prejudice on May 26,

2017.




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                           STATEMENT OF THE CASE


      1.     The Project

      Transco proposed to construct and operate the Project in order to provide

180,000 dekatherms per day (“Dth/d”) of firm natural gas transportation capacity to

New Jersey Natural Gas (“NJNG”). The Project will allow NJNG to access additional

supplies of natural gas and benefit the consuming public by providing enhanced

reliability and resiliency to NJNG’s service territory in Monmouth and Ocean

Counties, New Jersey. Transco has entered into a binding agreement with NJNG for

the entire capacity of the Project. See Transcontinental Gas Pipe Line Company, LLC,

155 FERC ¶ 61,016 at ¶8 (April 7, 2016) (“FERC Certificate Order”).

      The Project was constructed in two phases. For Phase 1, Transco constructed a

new meter and regulating station (“M&R Station”) in Chesterfield and tied it into

Transco’s existing Trenton Woodbury Line. Generally, M&R stations allow pipeline

companies to measure all natural gas entering or exiting their pipeline system. In

addition to the construction of the M&R Station, Transco uprated an existing motor to

25,000 horsepower (“hp”) and made related ancillary modifications at its Compressor

Station 205 in Lawrence Township, New Jersey. See Transcontinental Gas Pipe Line

Company, LLC, Order Issuing Certificate, 155 FERC ¶61,016 at ¶ 5. Phase 1 was

placed in service on September 9, 2017, and will allow Transco to deliver up to 20,000


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Dth/d to NJNG. Transco’s Addendum at T21 (Letter from Transcontinental Gas Pipe

Line Company, LLC to FERC).

      For Phase 2, Transco constructed a new compressor station known as Station

203, consisting of a single 30,500 hp electric motor driven unit and communication

tower, both at the site of the M&R Station. Transco also constructed an electrical

substation on a nearby property in Chesterfield in order to power Station 203.

Additionally, Transco replaced two existing 16,000 hp compressor units and uprate

electric motors each to 16,000 hp along with making related ancillary modifications at

Compressor Station 205. 155 FERC ¶ 61,016 at ¶6. On March 16, 2018, FERC

authorized Transco to place Phase 2 in service, thereby allowing Transco to deliver the

full 180,000 Dth/d of capacity to NJNG. Transco’s Addendum at T23 (FERC Letter

Order).

      2.     The FERC Process

      On February 18, 2015, pursuant to provisions of the NGA, Transco applied to

FERC for authority to construct and operate the Project. See 155 FERC ¶ 61,016 at ¶1.

On November 4, 2015, in accordance with NEPA, FERC issued, in its Docket No.

CP15-89-000, an EA for the Project. Id. at ¶35. In the EA, FERC analyzed the

environmental impacts of the Project, including impacts to wetlands and water

resources, vegetation and wildlife, air quality, and geology and soils. FERC also

considered comments submitted by other federal and state agencies along with

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comments from members of the public. FERC ultimately concluded in the EA that, by

implementing the various mitigation measures outlined in the EA, the Project would

not result in any significant environmental impacts. Id. at ¶42.

      After developing an EA for the Project and receiving additional comments from

other federal, state and local entities, and members of the public, FERC ultimately

granted Transco the Certificate on April 7, 2016, conditionally authorizing the

construction of the Project and requiring that Transco place all facilities in service

within two years of the date of the Order. See 155 FERC ¶ 61,016 at ¶149(B)(1). The

Certificate Order conditioned Transco’s authority to begin construction on it first

obtaining “all applicable authorizations required under federal law.” Id. at ¶8.

      On May 9, 2016, the Townships filed with FERC requests for rehearing of

FERC’s issuance of the Certificate and a stay of construction activity associated with

the Project. On June 8, 2016, FERC denied the Townships’ request for a stay and, in a

separate order, granted rehearing of the Certificate for the limited purpose of giving

itself additional time to further consider the rehearing requests. FERC ultimately

denied the Townships’ requests for rehearing on November 9, 2016.                  See

Transcontinental Gas Pipe Line Company, LLC, Order Denying Rehearing, 157 FERC

¶61,095 (Nov. 9, 2016) (“Rehearing Order”).

      The Townships subsequently filed an appeal of the Certificate and Rehearing

Order to this Court on January 6, 2017 in Docket # 17-1047. On March 24, 2017, after

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Transco had obtained its FWW Permit and Temporary Dewatering Permit, FERC

issued to Transco a Notice to Proceed (“NTP”), authorizing Transco to begin

construction of the Project. As noted above, Transco placed the phase 1 facilities in

service on September 9, 2017, and FERC has authorized Transco to place phase 2 in

service. Transco’s Addendum at T19-23.

      3.      New Jersey’s Permitting Process

      As is generally the case, the FERC Order required Transco to “file with the

Secretary documentation that it has received all applicable authorizations required

under federal law (or evidence of waiver thereof).” Certificate Order, Appendix ¶8.

Among the federal authorizations required for the Project is a Section 404 permit under

the Federal Water Pollution Control Act (commonly known as the Clean Water Act),

which authorizes the discharge of dredged or fill material into navigable waters. 33

U.S.C. § 1344(a). Furthermore, pursuant to Section 401 of the Clean Water Act, an

applicant for a Section 404 permit to construct or operate a facility that may result in a

discharge to navigable waters must provide the federal permitting agency with “a

certification from the State in which the discharge originates . . . that any such

discharge will comply with” applicable state water quality standards. 33 U.S.C. §

1341(a)(1).

      As this Court has noted, “New Jersey has assumed authority to issue Section 404

permits and delegated administration of the permitting program to NJDEP, which

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exercises this authority pursuant to the New Jersey Freshwater Wetlands Protection

Act.” Del. Riverkeeper Network v. Sec’y, Pa. Dep’t of Envntl. Prot., 833 F.3d at 369

(citing N.J.S.A. 13:9B-1 et seq.; 33 N.J. Reg. 3045(a); N.J.A.C. 7:7A-2.1(c); and

Memorandum of Agreement between the New Jersey Department of Environmental

Protection and Energy and the United States Environmental Protection Agency

(1993)). A permit issued by the NJDEP pursuant to the FWPA also constitutes the

water quality certificate required under Section 401 of the Clean Water Act. N.J.A.C.

7:7A-2.1(d).

               A.   The FWW Permit

      On July 24, 2015, Transco submitted applications to the NJDEP for a FWW

Permit, FHA Permit and FHA Verification. JA, Vol. II, 404 (Review & Decision

Summary). During the pendency of the NJDEP’s review of the FWW Permit, several

environmental groups, members of the public, and Petitioners requested that the

NJDEP hold a public hearing on Transco’s FWW Permit application. Id. An initial

hearing was scheduled for August 22, 2016, but was canceled due to high turnout and

limited seating at the venue. Id. The NJDEP ultimately held two public hearings on

October 13 and October 17, 2016 in Bordentown, New Jersey. Id. On November 10,

2016, Transco provided the NJDEP with a response to public comments document that

addressed the comments made at the public hearings. JA, Vol. II, 268 (Letter and

Comment Response Matrix).

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      Shortly thereafter, on November 17, 2016, the NJDEP provided Transco with a

letter requesting additional information based on comments received at the public

hearings. JA, Vol. II, 284. The NJDEP requested, among other things, additional

documentation regarding the alternative locations referenced in Transco’s FWW

Permit application, and noted that “[t]hese locations appear to provide practicable and

suitable locations for the project that would impact fewer wetlands and waters.” Id.

The NJDEP requested additional justification from Transco as to why those sites were

not chosen as the preferred site. Id. Not only did the NJDEP request that Transco

provide additional justification as to the siting of the entire project, but it asked that

Transco consider relocating the electrical substation, the component that involved the

greatest amount of impacts to wetlands, to an upland area. Id.

      Transco responded to the NJDEP’s requests by letter dated, December 2, 2016,

providing a robust analysis of Project site alternatives and alternatives to the siting of

the electrical substation. JA, Vol. II, 286. As to the alternate electrical substation

sites, Transco analyzed two alternatives: (1) co-locating the electrical substation on the

same property as the compressor station and M&R station; and (2) an alternate site

directly across County Road 528 from the preferred site of the electrical substation at

mile post (“MP”) 15.2 NE (“Alternate 15.2 NE”). JA, Vol. II, 312-314.

      Transco explained that co-locating the electrical substation with the other Project

facilities would pose a number of logistical constraints and would therefore not be

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practicable. For one, Transco pointed to constraints associated with being able to

safely bring power from PSE&G’s transmission line to the substation, and minimum

clearances between Project facilities needed for safety. JA, Vol. II, 313. Transco

further explained that co-locating all Project facilities on the same property would also

have greater impacts to forested wetlands. Id.

      As to Alternate 15.2 NE, Transco noted that this site is made up of several

properties owned by the New Jersey Turnpike Authority. Although Transco noted that

the site did not contain mapped wetlands or waterbodies, mapped scrub-shrub wetlands

were present on the immediately adjacent property. JA, Vol. II, 312. Transco also

explained that siting the electrical substation at Alternate 15.2 NE would double the

length of the electric conduit duct-bank. Id.

      On December 22nd, Transco’s environmental consultant delineated the wetlands

on the Alternate 15.2 NE site to confirm the location and boundaries of wetlands in

accordance with the methodology set forth in the Federal Manual for Identifying and

Delineating Jurisdictional Wetlands, as specified in the FWPA regulations. See JA,

Vol. II, 353 (January 13, 2017 letter to NJDEP). As a result, Transco was able to

determine that the Alternate 15.2 NE site is subject to several forested wetlands, which

are of a higher ecological value than the modified agricultural wetlands on Transco’s

preferred site. See Id.



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      Based on the results of the wetlands survey, Transco applied the footprint of the

electrical substation and electrical conduit to the Alternate 15.2 NE site. In so doing,

Transco was able to compare the impacts associated with the alternate site with those

of the preferred site. See JA, Vol. II, 355. Transco provided its results to the NJDEP

in a letter dated January 13, 2017, ultimately concluding that, given impacts to the

higher value forested wetlands on the Alternate 15.2 NE property, siting the electrical

substation at that property would have a greater impact on the aquatic ecosystem, and,

coupled with significant impacts to forested upland areas, would have other significant

adverse environmental consequences. JA, Vol. II, 354. Transco informed the NJDEP

that Alternate 15.2 NE would not be a practicable alternative with less environmental

impacts. JA, Vol. II, 359.

      Subsequent to Transco’s submittal, the NJDEP performed an onsite inspection

of the Alternate 15.2 NE property with Transco to confirm Transco’s findings

regarding the presence of wetlands. See JA, Vol. II, 361 (February 3, 2017 letter from

Transco to the NJDEP). As a result of that inspection, the NJDEP requested that

Transco further revise its design on the Alternate 15.2 NE property to avoid and

minimize wetlands impacts. Id. Transco submitted a letter to the NJDEP, dated

February 3, 2017, analyzing the impacts of shifting the electrical substation on the

Alternate 15.2 NE property further into upland areas and away from wetlands.

Transco determined, however, that, even with shifting the footprint of the electrical

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substation, there would still be significant impacts to higher quality forested wetlands

and forested upland areas. JA, Vol. II, 363.

      Ultimately, the NJDEP concurred with Transco’s analysis, and concluded that

construction of the electrical substation on the Alternate 15.2 NE property would have

greater environmental impacts over the preferred site. JA, Vol. II, 408 (Review &

Decision Summary). While the NJDEP acknowledged that the preferred site of the

electrical substation had slightly greater total impacts to wetlands, the NJDEP found

that the alternate site would result in significantly greater impacts to forested wetlands,

which the NJDEP found were of a greater ecological value than the modified

agricultural wetlands on the preferred site. Id.

      The NJDEP granted Transco the FWW Permit on March 13, 2017, conditioned

(among other things) on Transco also obtaining the Temporary Dewatering Permit.

             B.     The FHA Permit and FHA Verification

       As noted above, Transco applied for the FHA Permit and FHA Verification at

the same time it applied for the FWW Permit. The NJDEP ultimately approved the

FHA Permit and Verification on January 13, 2016. See JA, Vol. II, 404 (Review &

Decision Summary). However, due to subsequent changes in the Flood Hazard Area

Control Act regulations, which reduced the riparian zone applicable to the Project

location, Transco was able shift its facilities out of the riparian zone. See Id. On

March 13, 2017, Transco relinquished its FHA Permit. JA, Vol. II, 582 (letter from

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Transco to the NJDEP relinquishing FHA Permit). However, Transco did not

relinquish the FHA Verification. Id.

              C.   The Temporary Dewatering Permit

      On December 7, 2015, due to the expected need to perform dewatering activities

during construction of the Project, Transco also applied for a Temporary Dewatering

Permit. JA, Vol. II, 410 (Temporary Dewater Permit Application). On April 26, 2016,

the NJDEP’s Division of Water Supply and Geoscience held a public hearing on

Transco’s application. JA, Vol. II, 573 (Hearing Officer’s Report). The NJDEP

ultimately granted Transco the Temporary Dewatering Permit on March 21, 2017. JA,

Vol. I, 18.

      4.      Adjudicatory Hearing Requests

      Petitioners each filed adjudicatory hearing requests in early March 2016 in

connection with the issuance of FHA Permit. See JA, Vol. I, 34 (Order Denying

Requests for Adjudicatory Hearing and Request for Stay). Bordentown Township filed

adjudicatory hearing requests in connection with the FWW Permit and Temporary

Dewatering Permit on March 22, 2017 and April 11, 2017, respectively. Bordentown

Township also requested a stay of the FWW Permit in connection with its adjudicatory

hearing request. See Id. Chesterfield Township and the Pinelands Preservation

Alliance joined Bordentown Township’s hearing request for the FWW Permit on April

21, 2017 and March 23, 2017, respectively. See Id.

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      On August 22, 2017, the Commissioner of the NJDEP issued an Order Denying

Requests for Adjudicatory Hearing and Request for Stay. JA, Vol. I, 33. In the Order,

the Commissioner, citing this Court’s decision in Del. Riverkeeper Network v. Sec’y,

Pa. Dep’t of Envntl. Prot., 833 F.3d 360, 377 (3d Cir. 2016), held that “the

administrative process provided for in the Freshwater Wetlands Protection Act is not

applicable to permits for interstate natural gas pipeline projects”, and that this Court

has exclusive jurisdiction over the issuance of the permits. JA, Vol. I, 39 (citing 15

U.S.C. § 717r(d)(1)). The Commissioner also held that the permits were final upon

issuance by the NJDEP. Id.

                            STANDARD OF REVIEW

      State action pursuant to the Clean Water Act is reviewed by this court under the

arbitrary and capricious standard. Del. Riverkeeper Network v. Sec’y, Pa. Dep’t of

Envntl. Prot., 833 F.3d at 377. Under this standard, the reviewing court shall “hold

unlawful and set aside agency action, findings, and conclusions” that are found to be

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the

law.” 5 U.S.C. § 706(2)(A).

      The scope of review under the “arbitrary and capricious” standard is “narrow,

and a court is not to substitute its judgment for that of the agency.” Motor Vehicle

Mfrs. Assn. of the United States, Inc. v. State Farm Mut. Automobile Ins. Co., 463 U.S.

29, 43 (1983). An action is arbitrary and capricious only if the agency “failed to

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examine the relevant data and articulate a satisfactory explanation for its action

including a ‘rational connection between the facts found and the choice made.’” Id. at

42–43 (1983) (quoting Burlington Truck Lines v. United States, 371 U.S. 156 (1962).

The court must “consider whether the decision was based on a consideration of the

relevant factors and whether there has been a clear error of judgment.” Bowman

Transp., Inc. v. Arkansas-Best Freight System, Inc., 419 U.S. 281, 285 (1974). An

agency is due “substantial deference” under the arbitrary and capricious standard, and

the validity of the agency’s action is presumed. SBC Inc. v. FCC, 414 F.3d 486, 496

(3d Cir. 2005). The Court has a responsibility to “uphold a decision of less than ideal

clarity if the agency’s path may reasonably be discerned.” Bowman Transp., Inc., 419

U.S. at 286. The burden of proof rests with the party challenging the agency action.

See Frisby v. U.S. Dep’t of Hous. & Urban Development, 755 F.2d 1052, 1055 (3d Cir.

1985).

      Furthermore, substantial deference is given to an agency's interpretation of

statutes it administers, and particularly to its own regulations, so long as the

interpretation is a permissible one. See Chevron U.S.A., Inc. v. Natural Res. Defense

Council, 467 U.S. 837, 844 (1984); National Wildlife Federal v. Whistler, 17 F.3d

1341, 1344 (8th Cir.1994); Ford Motor Credit Co. v. Milhollin, 444 U.S. 555, 566

(1980); Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512 (1994). However, the

Court will review de novo a state agency’s interpretation of federal law. Del.

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Riverkeeper Network v. Sec’y, Pa. Dep’t of Envntl. Prot., 833 F.3d at 377.


                           SUMMARY OF ARGUMENT

      The NJDEP appropriately denied Petitioners’ requests for an adjudicatory

hearing. The NJDEP’s decision to issue the Permits to Transco constituted the

culmination of the agency’s review of Transco’s applications, and was a final action

subject to appeal in this Court pursuant to the NGA.

      As to the NJDEP’s findings and conclusions, Petitioners are only challenging

the NJDEP’s issuance of the FWW Permit, not the Temporary Dewatering Permit or

FHA Permit. Even so, Petitioners have failed to establish that the NJDEP’s issuance of

the FWW Permit was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law, and their Joint Petition for Review should be denied. The

NJDEP appropriately relied on the FERC’s issuance of the Certificate Order in

determining that Transco’s Project is in the public interest, and, contrary to Petitioners’

claims, considered the relevant factors under the FWPA regulations.

      Furthermore, the NJDEP conducted a thorough analysis of alternate sites for the

electrical substation, and appropriately determined that there were no practicable

alternate sites with less impacts on the aquatic ecosystem. In fact, the alternate site

referenced by Petitioners, Alternate 15.2 NE, was not even considered by Transco as

part of its FERC application, and was only addressed as part of the FWW Permit


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application when the NJDEP requested that Transco consider that specific site.

Alternate 15.2 NE was thoroughly vetted by Transco and the NJDEP, and the record

supports the NJDEP’s determination that Alternate 15.2 NE had greater impacts to the

aquatic ecosystem, and other significant environmental consequences over Transco’s

preferred site.

      Lastly, the scope of the NJDEP’s review of the impacts of the Project was

appropriate given the clear language of the FWPA regulations. The NJDEP was not

required under its regulations to analyze the impacts of NJNG’s Southern Reliability

Link (“SRL”) project, and this Court should uphold the NJDEP’s interpretation of its

regulations.

      Overall, the NJDEP’s decision to issue the FWW Permit to Transco marked the

culmination of over 20 months of review, the holding of two public hearings, the

consideration of over 1800 written comments, and numerous requests from the NJDEP

for additional supporting information from Transco. Through careful review of

Transco’s permit applications, and requests for minimization of impacts, the NJDEP’s

review resulted in a reduction of total impacts to wetlands from approximately 6.239

acres to 4.576 acres.

      For these reasons, more fully discussed below, Petitioners’ appeal should be

dismissed.



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 I.   THE NJDEP APPROPRIATELY DENIED                              BORDENTOWN’S
      REQUESTS FOR ADJUDICATORY HEARINGS

      Despite this Court’s precedential holding in Del. Riverkeeper Network v. Sec’y,

Pa. Dep’t of Envntl. Prot., 833 F.3d 360 (3d Cir. 2016), which held that the NGA

conferred original and exclusive jurisdiction over permits issued by the NJDEP

pursuant to federal law to interstate natural gas pipeline companies, Petitioners claim

that the NJDEP “abdicate[d] its responsibilities and refuse[d] to follow its own agency

procedures” when it rejected Petitioners’ requests for adjudicatory hearings. See

Petitioners’ Brief at 16. Specifically, Petitioners argue that the NGA requires final

agency action before permits may be appealed to the federal courts of appeal, and that,

in New Jersey, the permits are not final until after an adjudicatory hearing is held. See

Petitioners’ Brief at 21. However, the NJDEP’s issuance of the permits to Transco

were final decisions, and the NJDEP appropriately denied Bordentown’s request for an

adjudicatory hearing as this Court has original and exclusive jurisdiction over the

issuance of these Permits.

      As this Court has recently noted in a similar case brought pursuant to the NGA,

“[o]ur cases have interpreted pragmatically the requirement of administrative finality,

focusing on whether judicial review at the time will disrupt the administrative

process.” Del. Riverkeeper Network v. Sec’y, Pa. Dep’t of Envntl. Prot., 870 F.3d 171,

176 (3d. Cir. 2017)(quoting Bell v. New Jersey, 461 U.S. 773, 779 (1983)). “Final


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agency action must mark the consummation of the agency's decision making process,

must not be of a merely tentative or interlocutory nature, and must be one by which

rights or obligations have been determined, or from which legal consequences will

flow.” Id. at 176 (quoting Bennett v. Spear, 520 U.S. 154, 177–78 (1997)(internal

quotations omitted)).

      Petitioners mistakenly rely on the holding of the United States Court of Appeals

for the First Circuit in Berkshire Envtl. Action Team, Inc. v. Tennessee Gas Pipeline

Company, LLC, 851 F.3d 105 (1st Cir. 2017). In that case the Court held that it lacked

jurisdiction under the NGA, 15 U.S.C. §717r(d)(1), to hear the appeal of the issuance

of a WQC to an interstate natural gas pipeline company since the Massachusetts

Department of Environmental Protection (“MassDEP”) had not yet issued a final order

or action to grant or deny the WQC. As set forth in detail below, the administrative

review process applicable to the NJDEP’s issuance of a WQC is completely different

than the process applicable to MassDEP and, therefore, the First Circuit’s analysis has

limited value here.

      Importantly, Massachusetts regulations implementing the issuance of WQCs

provide that “No activity may begin prior to the expiration of the appeal period or until

a final decision is issued by [MassDEP] if an appeal is filed”. 314 CMR 9.09(1)(e).

To that end, a notice of claim for an adjudicatory hearing must be filed within 21 days

of the issuance of the WQC. 314 CMR 9.10(1). As noted by the First Circuit, “When

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a notice of claim is timely filed following the issuance of a water quality certification,

the agency's review of the proposed project continues more or less as though no

decision has been rendered at all.” Berkshire Envtl. Action Team, Inc. v. Tennessee

Gas Pipeline Company, LLC, 851 F.3d at 112. In other words, the issuance of a WQC

by MassDEP has no force or effect until, at the very earliest, the expiration of the 21-

day appeal period.

      On the other hand, the NJDEP’s regulations on the issuance of FWW Permits

and temporary dewatering permits clearly provide that the holder of these permits, such

as Transco, has the authority to engage in the permitted activity, subject only to any

applicable pre-construction conditions within the permit. N.J.A.C. 7:7A-21.3; N.J.A.C.

7:19-2.13. Unlike MassDEP’s decision, which has no force or effect until an

adjudicatory hearing is held and a decision made, the NJDEP’s issuance of the Permits

authorized Transco to immediately perform the regulated activities regardless of

whether or not a hearing request was filed.

      The NJDEP’s issuance of the Permits to Transco was clearly final decision

requiring direct appeal to this Court. As noted by the First Circuit, “finality ‘is

concerned with whether the initial decision maker has arrived at a definitive position

on the issue that inflicts an actual, concrete injury.’” Berkshire Envtl. Action Team,

Inc., 851 F.3d at 110 (quoting Darby v. Cisneros, 509 U.S. 137, 144 (1993)). The First

Circuit further noted that the NGA does not express an intent by Congress for federal

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courts of appeal “to exercise immediate review over such preliminary and numerous

steps that state agencies may take in processing an application before they actually act

in the more relevant and consequential sense of granting or denying it.” Berkshire

Envtl. Action Team, Inc., 851 F.3d at 108. However, the NJDEP’s issuance of the

permits to Transco is not some preliminary step in the process, but is the culmination

of almost 20 months of review resulting in the agency’s final decision. That decision,

evidenced by the issuance of the Permits, has “relevant and consequential”

implications for the parties. Because NJDEP’s issuance of the Permits to Transco

authorized it to perform regulated activities without regard to the filing of an

adjudicatory hearing request, Petitioners’ sole avenue for appeal is through the filing of

a Petition for Review with this Court.

      Furthermore, requiring interstate pipeline companies to take part in an

adjudicatory hearing would be directly at odds with Congress’ intent in passing the

Energy Policy Act of 2005 (“EPAct”), which amended the NGA to allow for original

and exclusive jurisdiction in the Circuit Courts. See 15 U.S.C. § 717r(d)(1). As noted

by the Court in Tennessee Gas Pipeline Co. LLC v. Del. Riverkeeper Network, 921 F.

Supp.2d 381, 391-92 (M.D.Pa. 2013), the legislative history of the EPAct is reflective

of Congress’ intent “to cut out all [state] review after the original agency made its

permitting decision.” Id. (citing, inter alia, statement of Mark Robinson, Director,

Office of Energy Projects, FERC, observing that, prior to the enactment of the Energy

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Policy Act of 2005 and its amendments to the rehearing and review procedures of the

Natural Gas Act, applicants were subject to “a series of sequential administrative

. . . appeals that [could] kill a project with a death by a thousand cuts just in terms of

the time frames associated with going through all those appeal processes”) (emphasis

in original).

       Thus, the state administrative review process set forth under the FWPA, and the

temporary dewatering permit rules simply do not apply to the review of permits issued

to interstate natural gas pipeline companies subject to regulation under the NGA.

II.    NJDEP COMPLIED WITH THE FWPA AND IMPLEMENTING
       REGULATIONS AND PROPERLY ISSUED THE FWW PERMIT


       A.       NJDEP’s Determination That the Project Was In The
                Public’s Interest Was Proper Since the Project Was
                Certificated By FERC.

       In determining whether to issue a FWW Permit, the NJDEP must make a

determination as to whether the proposed regulated activity is in the public interest.

N.J.S.A. 13:9B-11; N.J.A.C. 7:7A-10.2(b)12 2. The FWPA rules provide seven factors

that the NJDEP may consider when making the public interest determination:




2
  Formerly cited as N.J.A.C. 7:7A-7.2(b)12. The FWPA regulations were amended
after the NJDEP issued the FWW Permit to Transco. These amendments became
effective on December 18, 2017. Transco will cite to the amended regulations, as did
the Petitioners, so as to avoid confusion. The amendments did not change the
substance of the regulations relevant to this appeal.
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      i.     The public interest in preservation of natural resources and
             the interest of the property owners in reasonable economic
             development…
      ii.    The relative extent of the public and private need for the
             proposed regulated activity;
      iii.   Where there are unresolved conflicts as to resource use, the
             practicability of using reasonable alternative locations and
             methods, to accomplish the purpose of the proposed
             regulated activity;
      iv.    The extent and permanence of the beneficial or detrimental
             effects which the proposed regulated activity may have on
             the public and private uses for which the property is suited;
      v.     The quality and resource value classification pursuant to
             N.J.A.C. 7:7A-3.3 of the wetland, which may be affected
             and the amount of freshwater wetlands to be disturbed;
      vi.    The economic value, both public and private, of the
             proposed regulated activity to the general area; and
      vii.   The functions and values provided by the freshwater
             wetlands and probable individual and cumulative impacts of
             the regulated activity on public health and fish and wildlife;

N.J.A.C. 7:7A-10.2(b)12i-vii. Petitioners claim, without even citing to the NJDEP’s

public interest analysis, that the NJDEP failed to address these factors, and that factors

i, ii, and vi are not even mentioned. See Petitioners’ Brief at 25-26.

      As an initial matter, FERC has exclusive jurisdiction over the determination of

whether a Project is in the public’s interest. See Schneidewind v. ANR Pipeline Co.,

485 U.S. 293, 300-301 (1988) (holding that where state regulation affects the ability of

the FERC to regulate interstate natural gas, the state regulation will be preempted). See

also Islander East Pipeline v. Conn. Department of Environmental Protection, 467

F.3d 295, 305 (2d Cir.2006) (“Congress wholly preempted and completely federalized


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the area of natural gas regulation by enacting the NGA”). On April 6, 2016, FERC,

after over a year of review, issued the Certificate Order for the Project. See 155 FERC

¶ 61,016. As a practical and legal matter, NJDEP had no choice but to accept FERC’s

determination concerning public interest or need. In doing so, NJDEP did not fail to

consider the public interest requirement under the FWPA regulations. See Hoosier

Environmental Council v. U.S. Army Corps of Engineers, 722 F.3d 1053, 1062

(7th Cir. 2013)(holding that the Army Corps of Engineers appropriately relied on the

analysis of federal and state highway agencies in its own public interest analysis under

Section 404 of the Clean Water Act). Thus, NJDEP appropriately considered the

FERC’s determination that the Project was in the public interest as reflected in its

Review & Decision Summary. See JA, Vol. II, 411.

      Even assuming that the NJDEP could not solely rely on the FERC’s

determination that the Project is in the public interest, the NJDEP appropriately

considered each of the public interest factors set forth under the FWPA and

implementing regulations.

      As to the first factor, which deals with balancing of the public’s interest in

preservation of natural resources and the applicant’s interest in reasonable economic

development, the NJDEP found that the property “holds high economic value” for

Transco, given its proximity to Transco’s existing pipeline system. JA, Vol. II, 411.

The NJDEP also found that the Project would economically benefit the public at large.

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Id. As to the impacts on natural resources, the NJDEP found that the Project was

designed to avoid impacts to forested wetlands, and that the Project would not

adversely impact the functions of other wetlands onsite. Id.

      As to the second factor, pertaining to the relative extent of the public and private

need for the Project, the NJDEP noted that FERC issued the Certificate Order to

Transco after determining that there was a need for the additional supply of natural gas.

See Id. The NJDEP also explained that the Project would provide a secondary source

of natural gas to southern and central New Jersey. Id.

      In addressing the third factor, the NJDEP performed onsite inspections of the

Project site on July 7, 2015 in connection with Transco application for a letter of

interpretation. See JA, Vol. II, 389 (Response to Public Comments). In doing so, the

NJDEP was able to determine the extent of regulated features on the Project site, and

used this information in assessing options to minimize impacts onsite and in comparing

the preferred site to alternatives locations. See JA, Vol. II, 406-409 (Review &

Decision Summary)(assessing wetlands impacts at alternate sites).

      The NJDEP also addressed the “extent and permanence of the beneficial or

detrimental effects of the Project on public and private uses for which the propert[ies]

[are] situated.” N.J.A.C. 7:7A-10.2(b)12iv. The NJDEP considered both the

temporary and permanent impacts of the Project, and, as a result of numerous

discussions between Transco and the NJDEP, both permanent the temporary impacts

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were substantially reduced to the greatest extent practicable. See JA, Vol. II, 405

(Review & Decision Summary).         The NJDEP found that the Project would have

minimal impacts on existing uses and properties encumbered with Green Acres

restrictions against diversion and disposal from recreation and conservation purposes,

and concluded that the Project “is not expected to interfere with traffic, access to, or

use of any adjacent properties, farms or schools.” JA, Vol. II, 388 (Response to Public

Comments).

      Pursuant to the fifth factor, the NJDEP addressed the resource value

classification of the impacted wetlands. The NJDEP confirmed that, under the FWPA

regulations, these wetlands are considered Intermediate Resource Value wetlands, and

only require a 50-foot transition area. JA, Vol. II, 411 (Review & Decision Summary).

The NJDEP further found that Transco designed the Project to avoid impacting

forested wetlands to the greatest extent practicable. Id.

      As to the sixth factor, the NJDEP found that the Project would economically

benefit the public at large by providing “a secondary supply of natural gas for southern

and central New Jersey.” Id.; see Del. Riverkeeper Network v. Sec’y, Pa. Dep’t of

Envntl. Prot., 833 F.3d at 382 (holding that the NJDEP appropriately “found that the

project would provide public and private economic value by expanding Transco's

pipeline system capacity and serving end-users”).



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       Lastly, the NJDEP thoroughly addressed the functions and values of the

wetlands impacted by the Project, and any impacts on the public health and fish and

wildlife. As noted by the NJDEP in its thorough Review and Decision Summary, the

wetlands impacted by the Project are “modified agricultural wetlands and maintained

herbaceous wetlands along existing utility right of ways.” JA, Vol. II, 411. The

NJDEP discussed at length its preference for impacts to these types of wetlands, over

impacts to forested wetlands, especially given the increased ecological value of

forested wetlands. JA, Vol. II, 407-408. The NJDEP noted that U.S. Fish and Wildlife

Service reviewed the Project and confirmed that no critical habitat is present at the

Project site. JA, Vol. II, 409. The NJDEP also noted that the New Jersey Division of

Fish and Wildlife reviewed the Project and determined that there were no documented

threatened or endangered species habitat. Id. As to the impacts on the public health,

the NJDEP required Transco to provide information on the standard operating

procedures for construction, maintenance and operation of the Project, and information

pertaining to prevention of catastrophic events at Project facilities. See JA, Vol. II, 383

(Response to Comments document). The NJDEP appropriately considered this factor.

       For the reasons set forth above, the NJDEP appropriately determined that the

Project is in the public interest.




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       B.     NJDEP Analyzed Alternative Sites For The Electrical
              Substation In Compliance With The FWPA And The Clean
              Water Act.

       Petitioners claim that NJDEP failed to adequately review “Alternate 15.2 NE”,

and allege that this alternate site constituted a practicable alternative for the location of

the electrical substation. 3 See Petitioners’ Brief, pp. 26-29. However, contrary to

Petitioners’ claim, the reason Alternate 15.2 NE was rejected was not because it was

impracticable, but because it would have had greater environmental impacts compared

to Transco’s preferred location for the electrical substation. See JA, Vol II, 407-408

(Review & Decision Summary).

       The regulations implementing the FWPA, provide, in relevant part, that “[t]he

Department shall issue an individual freshwater wetlands or open water fill permit only



3
  Petitioners incorrectly allege at various points in their brief that the NJDEP was
required to “provide detailed, clear and convincing information proving
impracticability.” Petitioners’ Brief at 28, 29 (emphasis in the Brief), citing Utahns for
Better Transp. v. U.S. Dept. of Transp., 305 F.3d 1152, 1186 (10th Cir. 2002). As the
Tenth Circuit noted in Utahns for Better Transp, “[t]he test is whether the alternative
with less wetlands impact is “impracticable,” and the burden is on the Applicant [],
with independent verification by the [U.S. Army Corps of Engineers], to provide
detailed, clear and convincing information proving impracticability. Utahns for Better
Transp. v. U.S. Dept. of Transp., 305 F.3d at 1186. Accordingly, the burden is on
Transco, as the permit applicant, to clearly demonstrate a lack of practicable
alternatives. In turn, reviewing courts will look to whether the agency’s finding that
the applicant met its burden was “a clear error of judgment.” see Alliance For Legal
Action v. U.S. Army Corps of Engineers, 314 F.Supp.2d 534, 543 (M.D.N.C.
2004)(stating that “the court's inquiry is not whether the Corps has clearly
demonstrated a lack of practicable alternatives, but whether its decision that [the
applicant] had done so was a clear error of judgment”)
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if the regulated activity...[h]as no practicable alternative which would…have a less

adverse impact on the aquatic ecosystem or would not involve a freshwater wetland or

State open water; and [t]he alternative would not have other significant adverse

environmental consequences...” N.J.A.C. 7:7A-10.2(b)14. An alternative is practicable

“if it is available and capable of being carried out after taking into consideration cost,

existing technology, and logistics in light of overall project purposes.” N.J.A.C. 7:7A-

10.2(c)1 5. Importantly, a practicable alternative may still be rejected by the NJDEP if

it would have a greater impact on the aquatic ecosystem or other significant adverse

environmental consequences. See Del. Riverkeeper Network v. U.S. Army Corps of

Eng'rs., 869 F.3d 148, 162 (3d Cir. 2017)(upholding the Army Corps’ rejection of a

compression alternative for a pipeline project, although practicable, given the

alternative’s other significant environmental impacts).

        Where, as here, the proposed activity is non-water dependent, there is a

rebuttable presumption that there is a practicable alternative that would avoid

freshwater wetlands or special aquatic sites, and have less of an impact on the aquatic

ecosystem. N.J.A.C. 7:7A-10.3(b) 6. In order to rebut the presumption, Transco must

demonstrate, among other things, that the “basic project purpose cannot reasonably be

accomplished using one or more other sites in the general region that would avoid or



4
    Formerly cited as N.J.A.C. 7:7A-7.2(b)1
5
    Formerly cited as N.J.A.C. 7:7A-7.2(c)1
                                           33
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reduce the adverse impact on an aquatic ecosystem.” N.J.A.C. 7:7A-10.3(c)1 7. As

this Court has recently held, “‘[t]his does not require a specific level of detail to rebut

the presumption, but only record evidence the agency took a hard look at the proposals

and reached a meaningful conclusion based on the evidence.’” Del. Riverkeeper

Network v. U.S. Army Corps of Eng'rs., 869 F.3d at 163 (quoting Hillsdale

Environmental Loss Prevention Inc. v. U.S. Army Corps of Engineers, 702 F.3d 1156,

1168 (10th Cir. 2012)).

        As part of Transco’s initial application to the NJDEP, Transco analyzed four

alternative sites, in addition to the preferred site, for the location of the Project

facilities. JA, Vol. II, 102. After over a year of review and back-and-forth between

the NJDEP and Transco, the NJDEP determined, at the request of Petitioners and other

members of the public, to hold a public hearing to solicit comments on Transco’s

permit application. The NJDEP ultimately held two public hearings in October of

2016 in Bordentown Township. See JA, Vol. II, 404 (Review & Decision Summary).

Subsequent to the public hearings, the NJDEP issued a written request for additional

supporting information pertaining not only to the initial four alternate sites, but also

alternate sites for the electrical substation. JA, Vol. II, 284 (November 17, 2016

Letter). As noted by the NJDEP in that correspondence:


6
    Formerly cited as N.J.A.C. 7:7A-7.4(b)
7
    Formerly cited as N.J.A.C. 7:7A-7.4(c)3
                                            34
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             The largest single proposed impact to wetlands is the
             construction of the electrical substation component of the
             Project. Please investigate the possibility of separating the
             electrical substation from the remainder of the project and
             relocating it to a nearby upland.

             Ibid.

In response, Transco submitted additional supplemental information pertaining to

alternate sites for the electrical substation on December 2, 2016 (JA 286), January 13,

2017 (JA 352), and February 3, 2017 (JA 361). Petitioners make a passing reference

to the December 2nd letter, but, surprisingly, fail to even mention Transco’s subsequent

submittals on January 13th and February 3rd, which addressed Alternate 15.2 NE at

length.

      While Transco argued in its January 13th letter that cost and engineering

constraints made Alternate15.2 NE impracticable, it mainly argued that the location of

the electrical substation on that site would have greater adverse impacts on the aquatic

ecosystem and other significant environmental consequences over those attendant to

Transco’s proposed impacts on the preferred site. For instance, Transco determined

through on-site inspections that a significant portion of Alternate 15.2 NE is covered in

higher-quality forested wetlands, whereas Transco’s preferred site contains mostly

highly disturbed modified agricultural wetlands. JA, Vol. II, 354. Transco noted in its

analysis that the forested wetlands on the Alternate 15.2 NE property have greater

value over the herbaceous wetlands found on the preferred site as forested wetlands

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provide for greater ground and surface water uptake and storage, and provide for

greater habitat value to more varied types of wildlife. Id. at 356. Transco also noted

that forested wetlands have greater value since it takes significantly more time to

replace the functions and values that forested wetlands provide. Id.      Whereas the

replacement of herbaceous wetlands may take place over a matter of months,

replacement of the functions of forested wetlands could take up to 50 years. Id.

      Transco also pointed out that there would have been other significant

environmental consequences associated with siting the electrical substation at Alternate

15.2 NE, including a significant amount of impacts to forested upland areas, and

increased impacts resulting from the need to run the electrical duct bank from the

substation to the compressor station. Id. Transco concluded that, while the total

acreage of wetlands impacts associated with locating the electrical substation to

Alternate 15.2 NE were slightly less than those associated with the preferred site, the

ecological impact of locating the electrical substation at Alternate 15.2 NE would be

greater due to the high functional value of the forested wetlands on that property. Id.

      On January 26, 2017, the NJDEP and Transco completed an onsite meeting at

Alternate 15.2 NE to review the wetlands present on the property. JA, Vol. II, 361.

As a result of that meeting, the NJDEP requested that Transco further revise its design

on the Alternate 15.2 NE property to shift the electrical substation footprint to avoid

and minimize wetlands impacts. In response to this request, Transco submitted the

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February 3, 2017 letter to provide further support for Transco’s position that, even with

shifting the footprint of the electrical substation, there would be significantly greater

permanent impacts to higher quality forested wetlands. JA, Vol. II, 363.

      Ultimately, the NJDEP concurred with Transco’s analysis, and concluded that

construction of the electrical substation on the Alternate 15.2 NE property would have

greater environmental impacts over the preferred site. JA, Vol. II, 408 (Review &

Decision Summary). While the NJDEP acknowledged that the preferred site of the

electrical substation had slightly greater impacts to wetlands, the NJDEP found that the

alternate site would result in significantly greater impacts to forested wetlands, which

the NJDEP stated were of a greater ecological value than the modified agricultural

wetlands on the preferred site. Id.

      This substantial record evidence establishes that the NJDEP “took a hard look at

the proposals and reached a meaningful conclusion based on the evidence.” Del.

Riverkeeper Network v. U.S. Army Corps of Eng'rs., 869 F.3d 148, 163 (3d Cir.

2017)(citation and internal quotations omitted). For these reasons, this Court should

uphold the NJDEP’s rejection of Alternate 15.2 NE and finding that there were no

practicable alternatives to the preferred site of the electrical substation “which

would…have a less adverse impact on the aquatic ecosystem or would not involve a




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 freshwater wetland or State open water; and…would not have other significant adverse

 environmental consequences.” N.J.A.C. 7:7A-10.2(b)1 8.

III.     THE NJDEP WAS UNDER NO LEGAL OBLIGATION TO CONSIDER
         THE CUMULATIVE ENVIRONMENTAL IMPACTS OF NJNG’S SRL
         PROJECT.

         In addition to claiming that the NJDEP failed to analyze alternative sites for the

 Project, Petitioners also allege that the NJDEP improperly segmented its review of

 Transco’s Project and NJNG’s SRL Project, and that the NJDEP should have

 considered impacts on the Pinelands Area. However, as set forth in more detail below,

 the NJDEP complied with its regulations in issuing a FWW Individual Permit to

 Transco for regulated activity on Transco-owned property. Furthermore, Petitioners

 claims regarding impacts to the Pinelands Area should be dismissed since Transco’s

 Project is neither in the Pinelands Area nor impacts a regulated feature within the

 Pinelands Area.

         A.     The NJDEP Did Not Segment its Review of Transco’s Project
                and the SRL

         Petitioners argue in their brief that the NJDEP and Transco are attempting to

 circumvent the “letter and spirit of the FWPA” by segmenting review of the GSE and

 SRL projects, yet fail to actually set forth the text of the relevant regulation. The

 FWPA regulation prohibiting segmentation provides:



 8
     Formerly cited as N.J.A.C. 7:7A-7.2(b)1
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               Each individual permit applies to the entire site upon which
               permitted activities occur. An applicant shall not segment a
               project or its impacts by applying for general permit
               authorization for one portion of the project and applying for
               an individual permit for another portion of the project.
               Similarly, an applicant shall not segment a project or its
               impacts by separately applying for individual permits for
               different portions of the same project.

               N.J.A.C. 7:7A–10.1(c) 9.

The text of the regulation is important for understanding its scope. Here, an

“individual permit applies to the entire site upon which permitted activities occur.”

Ibid (emphasis added). The term “site” is defined by the FWPA regulations to mean

“the area within the legal boundary of the property(ies) or right-of-way…upon which a

regulated activity is proposed, is occurring, or has occurred, plus any contiguous land

owned or controlled by the same person(s).” N.J.A.C. 7:7A–1.3 10. In other words, an

individual permit only applies to regulated activity on property owned, or rights-of-

way held, by the permit applicant. Conversely, the “site” would not include property

not owned, or rights-of-way not held, by the applicant.

         For the Project, the “site” includes those properties owned and rights-of-way

held by Transco on which it proposed to perform activities regulated under the FWPA.

Here, Transco owns in fee the three properties on which the electrical substation,

compressor/M&R Station, and block valve are being constructed, and Transco holds


9
    Formerly cited as N.J.A.C. 7:7A–7.1(c)

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easements across property owned by Bordentown and PSE&G. Collectively, these

properties constitute the “site” for purposes of the FWPA regulations, and Transco

applied for a FWW Individual Permit that, once approved, would allow it to perform

regulated activities on these properties. Except for where the two projects are

physically connected at the site of the compressor station/M&R station, Transco does

not own property or hold easements that are crossed by the proposed route of the SRL.

Simply put, the properties used by Transco and NJNG for their respective projects do

not meet the definition a single “site” under the FWPA regulations. Accordingly, the

NJDEP appropriately granted a FWW Individual Permit to Transco to conduct

regulated activity on Transco’s “site”, as required by the FWPA regulations.

        Moreover, Petitioners’ allegation that the NJDEP’s review violated the “spirit”

of the FWPA regulations is simply an attempt to graft the definition of cumulative

impacts under NEPA onto the state review process. Specifically, Petitioners allege that

Transco and NJNG’s projects lack “independent utility”, and therefore must be

considered as one project. See Petitioners’ Brief at 33. However, the FWPA

regulations do not include an “independent utility” requirement when considering

cumulative impacts. In fact, the NJDEP addressed this point directly in its Response to

Public Comments document, stating that “[i]n accordance with the [FWPA] Rules, the

Department does not use “independent utility” to determine segmentation.” JA, Vol.

10
     Formerly cited as N.J.A.C. 7:7A–1.4
                                           40
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II, 384; see Utahns for Better Transp., 305 F.3d at 1191 (noting that the Clean Water

Act Regulations define “cumulative impacts” in a different and narrower way than the

regulations implementing NEPA). The FWPA regulations provide the standard for the

NJDEP to determine whether an applicant is segmenting a project to escape review,

and this Court should defer to the NJDEP’s interpretation and reject Petitioners’

attempts to rewrite these regulations. See Del. Riverkeeper Network v. Sec’y, Pa. Dep’t

of Envntl. Prot., 870 F.3d at 179-182 (deferring to the Pennsylvania Department of

Environmental Protection’s interpretation of “water dependency” under Pennsylvania’s

regulations as reasonable, and rejecting environmental group’s attempt to have federal

law control the interpretation of that term).

      B.     The Environmental Impacts of the SRL are Irrelevant to the
             NJDEP’s Review of Transco’s Permit Application

      At the end of their Brief, Petitioners provide a laundry list of environmental

impacts that they allege will result from the SRL Project, and claim, without any legal

support, that the NJDEP should have considered these impacts when reviewing

Transco’s Project. See Petitioners’ Brief at 34-40 (alleging impacts to the Pinelands

Area, EPA listed Superfund Sites, and the Kirkwood-Cohansey aquifer system).

Petitioners do not allege, nor can they, that Transco’s Project directly impacts these

resources. Instead Petitioners make the sweeping claim that simply because the SRL




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will be connected to Transco’s Project, the NJDEP should have included these

considerations in their review of Transco’s permit application.

      As set forth above, the FWPA regulations do not require the NJDEP to consider

the environmental impacts of the SRL. Transco’s Project and NJNG’s SRL are

entirely different projects proposed by two entirely different entities. Transco, as an

interstate pipeline company, is subject to regulation by FERC and sought and received

from the NJDEP an individual freshwater wetlands permit for its Project. NJNG, as an

intrastate public utility, is subject to regulation by the New Jersey Board of Public

Utilities and applied for its own permits in connection with the SRL.

      Accordingly, the environmental impacts of the SRL are irrelevant to the

NJDEP’s analysis of Transco’s Project.

                                   CONCLUSION

      For the reasons set forth above, Transco respectfully asks that the Court dismiss

Petitioners’ appeal.

                                  Respectfully submitted,
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Dated: March 28, 2018             By: s/Richard G. Scott
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                  CERTIFICATE OF ADMISSION TO THE BAR

      I hereby certify that Christine A. Roy, Esq and Richard G. Scott, Esq., attorneys

for Intervenor-Respondent, are members in good standing of the bar of the United

States Court of Appeals for the Third Circuit.


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       CERTIFICATE OF COMPLIANCE WITH FEDERAL RULE OF
                  APPELATE PROCEDURE 32(A)

  1. This brief complies with the type-volume limitation of Fed. R. App. P.

     32(a)(7)(B), contains 9742 words, excluding the parts exempted by Fed. R. App.

     P. 32(a)(7)(B)(iii).

  2. This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

     and the style requirements of Fed. R. App. P. 32(a)(6) as this brief has been

     prepared in proportionately spaced typeface using Microsoft Word in 14-point

     Times New Roman font.


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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE OF
                    APPELLATE PROCEDURE 31.1(C)

      This brief complies with the electronic filing requirements of L.A.R. 31.1(c)

because:

   1. The text of the electronic brief filed with the Court is identical to the text of the

      paper copies of the brief filed with the Court; and

   2. The PDF file containing this brief electronically filed with the Court via the

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      version 9.6.6194 and no virus was detected.

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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 28, 2018, 7 (seven) hard copies of the foregoing

were sent to the Clerk’s Office. Pursuant to Local Appellate Rules 31.1(d), I caused a

copy of the foregoing to be served upon all counsel of record via CM/ECF with a hard

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                             ADDENDUM

                               STATUTES,

                         REGULATIONS AND

                       FERC LETTER ORDERS,

                            AND RESPONSE

                                 LETTER
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    KeyCite Yellow Flag - Negative Treatment
Unconstitutional or PreemptedLimitation Recognized by Krafsur v. Davenport, 6th Cir.(Tenn.), Dec. 04, 2013

    KeyCite Yellow Flag - Negative TreatmentProposed Legislation
  United States Code Annotated
   Title 5. Government Organization and Employees (Refs & Annos)
      Part I. The Agencies Generally
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                                                            5 U.S.C.A. § 706

                                                         § 706. Scope of review

                                                               Currentness


To the extent necessary to decision and when presented, the reviewing court shall decide all relevant questions of law,
interpret constitutional and statutory provisions, and determine the meaning or applicability of the terms of an agency
action. The reviewing court shall--


  (1) compel agency action unlawfully withheld or unreasonably delayed; and


  (2) hold unlawful and set aside agency action, findings, and conclusions found to be--


     (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;


     (B) contrary to constitutional right, power, privilege, or immunity;


     (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory right;


     (D) without observance of procedure required by law;


     (E) unsupported by substantial evidence in a case subject to sections 556 and 557 of this title or otherwise reviewed
     on the record of an agency hearing provided by statute; or


     (F) unwarranted by the facts to the extent that the facts are subject to trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole record or those parts of it cited by a party, and
due account shall be taken of the rule of prejudicial error.


                                                                 CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 393.)



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Notes of Decisions (3889)

5 U.S.C.A. § 706, 5 USCA § 706
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  Code of Massachusetts Regulations Currentness
    Title 314: Division of Water Pollution Control
      Chapter 9.00: 401 Water Quality Certification for Discharge of Dredged or Fill Material, Dredging, and
      Dredged Material Disposal in Waters of the United States Within the Commonwealth (Refs & Annos)

                                                     314 CMR 9.09

                                         9.09: 401 Water Quality Certification



(1) The Department will certify in writing to the appropriate federal agency and to the applicant whether or not the
proposed project will meet applicable water quality standards and minimize environmental impacts through compliance
with 314 CMR 4.00: Massachusetts Surface Water Quality Standards as implemented and supplemented by 314 CMR
9.00. Certification will be denied if the criteria of 314 CMR 9.06, 9.07, or 9.08 as applicable are not met The Department
shall send copies of the 401 Water Quality Certification or denial concurrently to the conservation commission, any
person who submits written comments during the public comment period and any others who submit a written request.
The certification or denial will contain:


    (a) the name and address of the applicant, the address of the proposed activity, and the date of the Department's
    determination;


    (b) the federal permit number, the 401 Water Quality Certification Transmittal Number and the Wetlands Protection
    Act File Number, if applicable and available;


    (c) a statement that there is or is not reasonable assurance that the activity will be conducted in a manner which will
    not violate applicable Surface Water Quality Standards at 314 CMR 4.00: Massachusetts Surface Water Quality
    Standards as implemented by 314 CMR 9.00 and a statement of reasons if certification is denied;


    (d) any conditions deemed necessary by the Department to insure maintenance or attainment of water quality,
    minimization of any damage to the environment that may result from the project, or compliance with any applicable
    provisions of Massachusetts law that the Department is authorized to administer. As a condition of certification of
    subdivisions or other phased activities, applicants may be required to record a deed restriction which would limit
    subsequent discharges of dredged or fill material to ensure that the criteria for the evaluation of applications have
    been applied to a single and complete project, including all components of multi-phased activities;


    (e) the date the work may begin. No activity may begin prior to the expiration of the appeal period or until a final
    decision is issued by the Department if an appeal is filed;


    (f) a statement that the certification does not relieve the applicant of the duty to comply with any other statutes
    or regulations;


    (g) notification of the right to request an adjudicatory hearing as described in 314 CMR 9.10; and




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    (h) where applicable, other state law determinations or approvals, including but not limited to a Chapter 91 dredging
    permit under 310 CMR 9.05(2) : Activities Requiring a Permit Application.


(2) Written applications may be made to amend existing, valid 401 Water Quality Certifications and are subject to the
Department's review and approval or denial.


(3) Written applications may be made to extend an existing, valid 401 Water Quality Certifications and are subject to
the Department's review and approval or denial.


(4) If the applicant has submitted a Combined Application, the Department may issue a Combined Permit that serves
as two or three of the following: the 401 Water Quality Certification issued pursuant to 314 CMR 9.00; the Superseding
Order of Conditions issued pursuant to 310 CMR 10.00: Wetlands Protection; and for a water-dependent use project, the
Chapter 91 license, permit or other written approval issued pursuant to 310 CMR 9.00: Waterways. Alternatively, the
Department may issue a 401 Water Quality Certification that is separate from the Order of Conditions issued pursuant
to 310 CMR 10.00 and/or the Chapter 91 license, permit, or other written approval issued pursuant to 310 CMR 9.00.


Currency of the Update: The Massachusetts Administrative Code titles are current through Register No. 1359, dated
February 23, 2018

Mass. Regs. Code tit. 314, § 9.09, 314 MA ADC 9.09

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  Code of Massachusetts Regulations Currentness
    Title 314: Division of Water Pollution Control
      Chapter 9.00: 401 Water Quality Certification for Discharge of Dredged or Fill Material, Dredging, and
      Dredged Material Disposal in Waters of the United States Within the Commonwealth (Refs & Annos)

                                                    314 CMR 9.10

                                                    9.10: Appeals



(1) Right to Appeal. Certain persons shall have a right to request an adjudicatory hearing concerning certifications by
the Department when an application is required:


    (a) the applicant or property owner,


    (b) any person aggrieved by the decision who has submitted written comments during the public comment period;


    (c) any ten persons of the Commonwealth pursuant to M.G.L. c. 30A where a group member has submitted written
    comments during the public comment period; and


    (d) any governmental body or private organization with a mandate to protect the environment that has submitted
    written comments during the public comment period.

Any person aggrieved, any ten persons of the Commonwealth, or a governmental body or private organization with a
mandate to protect the environment may appeal without having submitted written comments during the public comment
period only when the claim is based on new substantive issues arising from material changes to the scope or impact of
the activity and not apparent at the time of public notice.


(2) Notice of Claim. Any notice of claim for an adjudicatory hearing must be accompanied by a filing fee as specified
in 310 CMR 4.06: Adjudicatory Hearing Filing Fee and be sent by certified mail or hand delivered to the Department of
Environmental Protection, postmarked within 21 days of the date of the certification.


(3) Contents of Claim. Any notice of claim for an adjudicatory hearing must include the following information:


    (a) the 401 Certification Transmittal Number and Wetlands Protection Act Number, the name of the applicant and
    address of the project;


    (b) the complete name, address, and telephone number of the party filing the request; the name, address and
    telephone number of any authorized representative; and, if claiming to be a person aggrieved, the specific facts that
    demonstrate that the party satisfies the definition of “aggrieved person” found in 314 CMR 9.02;




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    (c) a clear statement that an adjudicatory hearing is being requested;


    (d) a clear and concise statement of facts which are grounds for the proceeding, the specific objections to the
    Department's written certification, and the relief sought through the adjudicatory hearing, including specifically the
    changes desired in the final written certification; and


    (e) a statement that a copy of the request has been sent by certified mail or hand delivered to:


        1. the applicant;


        2. for projects in Outstanding Resource Waters, the public or private water supplier where the project is located,
        the Department of Conservation and Recreation for projects in Areas of Critical Environmental Concern, or
        other entity with responsibility for the resource;


        3. the owner, if different from the applicant;


        4. the appropriate regional office of the Department; and


        5. the conservation commission of the city or town where the activity will occur.


(4) Coordination of Appeals. The Department may coordinate adjudicatory appeals under 314 CMR 9.00, 310 CMR
10.00: Wetlands Protection, 310 CMR 9.00: Waterways or other administrative appeals.


    (a) If a final order has been issued pursuant to 310 CMR 10.00: Wetlands Protection, the Department may exclude
    issues solely within the jurisdiction of 310 CMR 10.00 at an adjudicatory hearing held under 314 CMR 9.00.


    (b) If a Chapter 91 license, permit or other approval has been issued pursuant to 310 CMR 9.00: Waterways, the
    Department may exclude issues solely within the jurisdiction of 310 CMR 9.00 at an adjudicatory hearing held
    under 314 CMR 9.00.


    (c) If an adjudicatory hearing has been requested under 314 CMR 9.00, 310 CMR 9.00: Waterways, 310 CMR 10.00:
    Wetlands Protection, or another administrative appeal, the Department may consolidate the proceedings.


    (d) In the event that the Department has issued a Combined Permit that serves as a 401 Water Quality Certification
    pursuant to 314 CMR 9.00, a Chapter 91 license, permit or other written approval issued pursuant to 310 CMR 9.00:
    Waterways, and/or a Superseding Order of Conditions issued pursuant to 310 CMR 10.00: Wetlands Protection,
    the appeal may include issues solely within the jurisdiction of 310 CMR 9.00 and 310 CMR 10.00 only as follows:
    The appeal may include issues within the jurisdiction of 310 CMR 9.00, only if the appeal has been requested
    in accordance with the requirements of 310 CMR 9.17: Appeals. The appeal may include issues solely within the




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    jurisdiction of 310 CMR 10.00, only if the appeal has been requested in accordance with the requirements of 310
    CMR 10.05(7)(j).


Currency of the Update: The Massachusetts Administrative Code titles are current through Register No. 1359, dated
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Mass. Regs. Code tit. 314, § 9.10, 314 MA ADC 9.10

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  New Jersey Administrative Code
   Title 7. Department of Environmental Protection
     Chapter 7A. Freshwater Wetlands Protection Act Rules (Refs & Annos)
        Subchapter 1. General Provisions (Refs & Annos)

                                                 N.J.A.C. 7:7A–1.3
                                         Formerly cited as NJ ADC 7:7A–1.4

                                                 7:7A–1.3 Definitions

                                                      Currentness


The following words and terms, when used in this chapter, shall have the following meanings unless the context clearly
indicates otherwise. Additional definitions specifically applicable to N.J.A.C. 7:7A-11, Mitigation, are set forth at
N.J.A.C. 7:7A-11.1.

“Abandoned” means, with respect to an agricultural field, including a blueberry field or a cranberry bog, that the field
was used for agriculture, but has not been used to produce a crop or product, or maintained or improved for agricultural
purposes, for five years or more. If an agricultural field has been abandoned for 40 or more years, it shall no longer
be considered an abandoned agricultural field. The lack of a commercial harvest or production of a crop on or from a
cranberry bog or blueberry field shall not be a determining factor as to whether the agricultural use has been abandoned.



“Administratively complete” means that every item required on the application checklist for a letter of interpretation or
permit being sought is included in the application.

“Agency of the State” means each of the principal departments in the executive branch of the State Government,
and all boards, divisions, commissions, agencies, departments, councils, authorities, offices or officers within any such
departments.

“Applicant” means a person who submits an application for a permit, waiver, or any other Department decision pursuant
to N.J.A.C. 7:7A.

“Aquatic ecosystem” means waters of the United States, including wetlands, that serve as habitat for interrelated and
interacting communities and populations of plants and animals.

“Architectural survey” means an intensive-level historic architectural survey completed by an architectural historian
whose qualifications meet the Secretary of the Interior's Professional Qualifications Standards and related guidance as
part of the larger Secretary of the Interior's Standards and Guidelines for Archaeology and Historic Preservation as
referenced in 36 CFR 61, as amended and supplemented, incorporated herein by reference.

“Atlantic white-cedar wetlands” means a type of forested freshwater wetlands where Atlantic white-cedar tree is the
dominant vegetation, as described in the Federal Manual.

“Best Management Practices” or “BMPs” means methods, measures, designs, performance standards, maintenance
procedures, and other management practices which prevent or reduce adverse impacts upon or pollution of freshwater
wetlands, State open waters, and adjacent aquatic habitats, which facilitate compliance with the Federal Section 404(b)
(1) guidelines (40 CFR Part 230), New Jersey Department of Environmental Protection Flood Hazard Area Control Act



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“Public hearing” means an administrative non-adversarial type hearing before a representative or representatives of the
Department providing the opportunity for public comment, but does not include cross-examination.

“Redevelopment” means the construction of structures or improvements on or below impervious surfaces, as defined in
this section, or other significantly disturbed area.

“Regulated activity” means any of the activities described at N.J.A.C. 7:7A-2.2 or at N.J.A.C. 7:7A-2.3.

“Seeding” means the sowing of seed and placement of seedlings to produce farm, ranch, or forest crops and includes the
placement of soil beds for seeds or seedlings on established farm and forest lands.

“Silviculture” means the art and science of controlling the establishment, growth, composition, health, and quality of
forests and woodlands to meet the diverse needs and values of landowners and society on a sustainable basis. The
normal harvesting of forest products is a part of some silviculture operations. Orchards, tree farms and nurseries are
not silviculture but are farming.

“Site” means the area within the legal boundary of the property(ies) or right-of-way for which a letter of interpretation
is requested, or upon which a regulated activity is proposed, is occurring, or has occurred, plus any contiguous land
owned or controlled by the same person(s). This term also includes an area which is the subject of an application for a
letter of interpretation or which is the location of a proposed mitigation bank. For the purposes of this definition, the
legal boundary of a property or right-of-way shall be the boundary as it existed on July 1, 1988 except that if additional
contiguous lots and/or blocks were acquired after July 1, 1988, or if lots were merged after July 1, 1988, these lots are
included in the site, and the legal boundary of the property or right-of-way shall be the boundary of all contiguous land
owned or controlled by the same person(s), as it exists on the date an application is submitted under this chapter. The
legal boundary of a property is set forth in the deed(s) for the property or other legally binding document that sets forth
a boundary. The legal boundary of a right-of-way is set forth in the document creating the right-of-way.

“Site plan” or “plan” means a graphic depiction of land, vegetation, water, structures, and other physical features on
paper, such as a blueprint, construction plan, cross-section, topographic map, architectural rendering, or other similar
illustration, which is submitted to the Department to describe an existing or proposed activity or condition.

“Soil Conservation District” means a governmental subdivision of this State, and a public body corporate and politic,
organized in accordance with N.J.S.A. 4:24-1 et seq. Each Soil Conservation District administers New Jersey Department
of Agriculture programs for one or more counties. Soil Conservation Districts are overseen by the New Jersey State
Soil Conservation Committee in the New Jersey Department of Agriculture, which promulgates the Standards for Soil
Erosion and Sediment Control in New Jersey at N.J.A.C. 2:90. For the purposes of this chapter only, the term “Soil
Conservation District” shall include any exempt municipality authorized to enforce the Standards for Soil Erosion and
Sediment Control by ordinance pursuant to N.J.S.A. 4:24-48.

“Special aquatic site” means a site described in subpart E of the 404(b)1 guidelines (40 C.F.R. 230 et seq.), except
freshwater wetlands which, for the purposes of this chapter, shall not be considered special aquatic sites. In general,
special aquatic sites are geographic areas, large or small, possessing special ecological characteristics of productivity,
habitat, wildlife protection, or other important and easily disrupted functions and values. These areas are generally
recognized as significantly influencing or positively contributing to the general overall environmental health or vitality
of the entire ecosystem of a region. As of September 4, 2001, the following special aquatic sites are described in subpart
E of the 404(b)1 guidelines (40 C.F.R. 230 et seq.): sanctuaries and refuges, wetlands (note: while freshwater wetlands
are excluded from the definition of a special aquatic site for purposes of this chapter, other wetlands, such as most
coastal wetlands, would be considered special aquatic sites), mud flats, vegetated shallows, coral reefs, and riffle and
pool complexes.



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4. Artificial reflecting or swimming pools or other small ornamental bodies of water created by excavating and/or diking
dry land to retain water for primarily aesthetic reasons;


5. Waterfilled depressions created in dry land incidental to construction activity and pits excavated in dry land for the
purpose of obtaining fill, sand, or gravel unless and until the construction or excavation operation is abandoned and the
resulting body of water meets the above definition of “waters of the United States”;


6. Waste treatment systems, including treatment ponds or lagoons designed to meet the requirements of the CWA (other
than cooling ponds); and


7. Erosional channels less than two feet wide and six inches deep in upland areas resulting from poor soil management
practices.

“Working day” means a day on which the offices of the New Jersey Department of Environmental Protection are open
for business.


Credits
Amended by R.1989 d.362, effective July 3, 1989; R.1992 d.117, effective March 16, 1992; R.1993 d.159, effective April
19, 1993; R.1993 d.646, effective December 20, 1993; R.1999 d.352, effective October 4, 1999; R.2001 d.312, effective
September 4, 2001; R.2003 d.44, effective January 21, 2003; R.2007 d.243, effective August 20, 2007; R.2008 d.291,
effective October 6, 2008; R.2009 d.372, effective December 21, 2009. Recodified from N.J.A.C. 7:7A-1.4 and amended
by R.2017 d.243, effective December 18, 2017.


                                          CHAPTER EXPIRATION DATE

<Chapter 7A, Freshwater Wetlands Protection Act Rules, expires on August 5, 2022.>


Current through amendments included in the New Jersey Register, Volume 50, Issue 2, dated January 16, 2018.

7:7A–1.3, NJ ADC 7:7A–1.3

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7:7A–10.1 General provisions for individual permits, NJ ADC 7:7A-10.1
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     Chapter 7A. Freshwater Wetlands Protection Act Rules (Refs & Annos)
        Subchapter 10. Requirements for All Individual Freshwater Wetlands and Open Water Fill Permits (Refs
        & Annos)

                                                  N.J.A.C. 7:7A–10.1
                                               Formerly cited as 7:7A–7.1

                                 7:7A–10.1 General provisions for individual permits

                                                      Currentness




    (a) A regulated activity or project subject to an individual permit shall meet the applicable requirements below:


         1. Requirements for all individual permits at N.J.A.C. 7:7A-10.2;


         2. For a non-water dependent activity, the requirements at N.J.A.C. 7:7A-10.3, except if the activity disturbs
         only State open waters that are not special aquatic sites; and


         3. For a non-water dependent activity in an exceptional resource value wetland or trout production water, the
         requirements at N.J.A.C. 7:7A-10.4.


(b) The Department shall not consider a mitigation proposal in determining whether an individual permit will be issued
for a project.


(c) Each individual permit applies to the entire site upon which permitted activities occur. An applicant shall not segment
a project or its impacts by applying for general permit authorization for one portion of the project and applying for an
individual permit for another portion of the project. Similarly, an applicant shall not segment a project or its impacts by
separately applying for individual permits for different portions of the same project.


(d) In some cases, a regulated activity that requires an individual permit and is located in an area under the jurisdiction
of the Pinelands Commission also requires approval by the Pinelands Commission, in accordance with the Pinelands
Comprehensive Management Plan (CMP). For information on freshwater wetlands in the Pinelands, contact the
Pinelands Commission at (609) 894–7300 or through its website at www.state.nj.us/pinelands.


Credits
Adopted by R.2001 d.312, effective September 4, 2001. Amended by R.2008 d.291, effective October 6, 2008. Recodified
from N.J.A.C. 7:7A–7.1 and amended by R.2017 d.243, effective December 18, 2017.




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                                        CHAPTER EXPIRATION DATE

<Chapter 7A, Freshwater Wetlands Protection Act Rules, expires on August 5, 2022.>


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7:7A–10.1, NJ ADC 7:7A–10.1

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7:7A-21.3 Effect of request for hearing on operation of permit or..., NJ ADC 7:7A-21.3
                                                                                          Date Filed: 03/28/2018




  New Jersey Administrative Code
   Title 7. Department of Environmental Protection
     Chapter 7A. Freshwater Wetlands Protection Act Rules (Refs & Annos)
        Subchapter 21. Requests for Adjudicatory Hearings (Refs & Annos)

                                                     N.J.A.C. 7:7A-21.3

                    7:7A-21.3 Effect of request for hearing on operation of permit or authorization

                                                        Currentness


(a) When a permittee requests an adjudicatory hearing to appeal any portion of a permit or an authorization, the
operation of the permit or authorization shall be automatically stayed in its entirety, unless the permittee shows good
cause in writing why the permit or authorization should continue in effect while being contested. All permitted activities
shall stop as of the date the hearing request is submitted, and shall not be started again until the matter is resolved, unless
the Department grants an exception in writing.


(b) When a person other than the permittee requests an adjudicatory hearing on a permit or authorization, the operation
of the permit or authorization is not automatically stayed. The Department shall stay operation of the permit or
authorization only if it determines that good cause to do so exists. If a stay is imposed, all permitted activities shall stop
as of the date the stay is imposed, and shall not be started again until the matter is resolved, unless the Department
grants an exception in writing.


Credits
Adopted by R.2017 d.243, effective December 18, 2017.


                                            CHAPTER EXPIRATION DATE

<Chapter 7A, Freshwater Wetlands Protection Act Rules, expires on August 5, 2022.>


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7:7A-21.3, NJ ADC 7:7A-21.3

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7:13–5.5 When a verification is required for issuance of an..., NJ ADC 7:13-5.5
                                                                                      Date Filed: 03/28/2018




  New Jersey Administrative Code
   Title 7. Department of Environmental Protection
     Chapter 13. Flood Hazard Area Control Act Rules (Refs & Annos)
        Subchapter 5. Verifications (Refs & Annos)

                                                    N.J.A.C. 7:13–5.5

                             7:13–5.5 When a verification is required for issuance of an
                            authorization under a general permit or an individual permit

                                                      Currentness


(a) Except as provided at (b) and (c) below, the flood hazard area design flood elevation, and floodway limit, where
present, must be known and verified within the project area pursuant to N.J.A.C. 7:13-5.2 in order for the Department
to determine compliance with the requirements of this chapter and issue an authorization under a general permit or
an individual permit. An applicant for an authorization under a general permit or an individual permit shall therefore
demonstrate that:


    1. The applicant possesses a valid verification of the flood hazard area design flood elevation, and also the floodway
    limit, if present, for the project area;


    2. The applicant has applied for a verification of the flood hazard area design flood elevation, and also the floodway
    limit, where present, for the project area, and the Department subsequently approves the verification either prior
    to or concurrent with the issuance of the authorization under a general permit or individual permit;


    3. The project meets the conditions of (b)1, 2, or 3 below, in which case no verification is required in order to obtain
    an authorization under a general permit or an individual permit; or


    4. The project meets the conditions of (c) below, in which case a verification of only the flood hazard area design
    flood elevation is required either prior to or concurrent with the issuance of an authorization under a general permit
    or an individual permit.


(b) Obtaining a verification is not required prior to the issuance of an authorization under a general permit or an
individual permit, provided the Department determines, based on a visual inspection of submitted site plans and without
a review of calculations, that one or more of the following requirements is satisfied:


    1. No fill or aboveground structure is proposed within a flood hazard area;


    2. The project consists solely of the construction, replacement, enlargement, repair, or removal of a bridge or culvert
    along a railroad or public roadway; or


    3. All of the following are true:



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         i. No habitable building, railroad, roadway, or parking area is proposed, which requires knowledge of the flood
         hazard area design flood elevation to determine compliance with this chapter;


         ii. Any proposed fill and/or aboveground structure is located outside a floodway; and


         iii. The flood storage displacement requirements of N.J.A.C. 7:13-11.4 are satisfied.


(c) Obtaining a verification of only the flood hazard area design flood elevation and not the floodway limit is required
prior to the issuance of an authorization under a general permit or an individual permit, provided the Department
determines, based on a visual inspection of submitted site plans and without a review of calculations, that the following
requirements are satisfied:


    1. No fill or aboveground structure is proposed within a floodway; and


    2. Compliance with the flood storage displacement requirements of N.J.A.C. 7:13-11.4 does not require knowledge
    of the location of the floodway.


Credits
Adopted by R.2016 d.055, effective June 20, 2016.


                                          CHAPTER EXPIRATION DATE

<Chapter 13, Flood Hazard Area Control Act Rules, expires on October 6, 2021.>


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7:13–5.5, NJ ADC 7:13–5.5

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  New Jersey Administrative Code
   Title 7. Department of Environmental Protection
     Chapter 19. Water Supply Allocation Permits (Refs & Annos)
        Subchapter 2. Permit and Water Use Registration Procedures; Permits–By–Rule

                                                  N.J.A.C. 7:19–2.13

                                     7:19–2.13 Request for adjudicatory hearing

                                                     Currentness


(a) An applicant or any person, subject to the limitation on third party appeal rights set forth in P.L.1993, c. 359
(N.J.S.A. 52:4B–3.1 through 3.3), who believes himself or herself to be aggrieved, with respect to decisions made by
the Department regarding any permit, permit condition, or application denial may contest the decision and request a
contested case hearing pursuant to the Administrative Procedure Act, N.J.S.A. 52:14B–1 et seq. and the New Jersey
Uniform Administrative Procedure Rules N.J.A.C. 1:1, if the Department:


    1. Denies an application for a water supply allocation permit, or any part thereof;


    2. Revokes, withdraws or modifies a previously issued approval;


    3. Denies a contract for the sale of water under N.J.A.C. 7:19–7; or


    4. Issues a permit with conditions that the applicant considers unreasonable.


(b) Requests for a contested case hearing shall be submitted to:

Office of Legal Affairs

ATTENTION: Adjudicatory Hearing Requests

Department of Environmental Protection

CN 402

Trenton, New Jersey 08625–0402


(c) All requests for a contested case hearing must be received by the Department within 20 calendar days after the date
upon which the notice of decision was received.


(d) All requests for a contested case hearing shall be submitted in writing to the Department and shall contain:




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    1. The name, address and telephone number of the person making such request;


    2. A statement of the legal authority and jurisdiction under which the request for a hearing is made;


    3. A brief and clear statement of specific facts describing the Department decision being appealed, as well as the
    nature and scope of the interest of the requester in such decision;


    4. A statement of all facts alleged to be at issue and their relevance to the Department decision for which a hearing
    is requested. Any legal issues associated with the alleged facts at issue must also be included; and


    5. In the case of a person who believes himself or herself to be aggrieved, the constitutional and statutory grounds
    entitling the person to a hearing and all documents supporting such assertions.


(e) A hearing request not received within 20 days after receipt of the notification by the applicant shall be denied by
the Department.


(f) A hearing request based upon a permit condition which was contained in a prior permit held by the applicant and
not objected to previously or on an issue not raised by the applicant during the public comment period shall be denied
by the Department.


(g) A hearing request based upon a permit condition that the applicant requested in its application shall be denied by
the Department.


(h) If the applicant or any person requesting a hearing pursuant to (a) above fails to include all the information required
by (d) above, the Department may deny the hearing request.


(i) The Department shall determine whether any request for a contested case hearing should be granted. In making such
determination, the Department shall evaluate the request to determine whether a contested case exists and whether there
are issues of fact which, if assumed to be true, might change the Department's decision. Where only issues of law are
raised by a request for a hearing, the request will be denied. Denial by the Department of a request for a contested case
hearing shall constitute the final decision of the Department for the purposes of judicial appeal.


(j) The hearing if granted shall be held before an administrative law judge and in accordance with the Administrative
Procedure Act, N.J.S.A. 52:14B–1 et seq. and the rules and regulations promulgated thereto.


(k) If a permittee pursues a judicial appeal of the Department's final decision on the permit, the permit as issued shall
remain in effect pending a decision on said appeal.


Credits
Amended by R.1990 d.180, effective March 19, 1990; R.1995 d.162, effective March 20, 1995.


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                                        CHAPTER EXPIRATION DATE

<Chapter 19, Water Supply Allocation Permits, expires on January 23, 2021.>


Current through amendments included in the New Jersey Register, Volume 50, Issue 2, dated January 16, 2018.

7:19–2.13, NJ ADC 7:19–2.13

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                                  FEDERAL ENERGY REGULATORY COMMISSION
                                           WASHINGTON, D.C. 20426




      OFFICE OF ENERGY PROJECTS                                     In Reply Refer To:
                                                                    OEP/DG2E/Gas 2
                                                                    Transcontinental Gas Pipeline
                                                                         Company, LLC
                                                                    Garden State Expansion Project
                                                                    Docket No. CP15-89-000

      September 8, 2017
      Marg Camardello
      Regulatory Analyst, Lead
      Transcontinental Gas Pipe Line Company, LLC
      2800 Post Oak Boulevard (77056)
      PO Box 1396
      Houston, TX 77251-1396

      Re: Authorization to Commence Service

              I grant Transcontinental Gas Pipe line Company, LLC’s (Transco) August 15, 2017
      request, as supplemented on August 16 and September 8, 2017, to place into service Phase I
      facilities of the Garden State Expansion Project in Burlington and Mercer Counties, New
      Jersey. Your request is in compliance with condition number 9 of the Commission’s April
      7, 2016 Order Issuing Certificate (Order) issued in the above-referenced docket. This
      authorization is based on our review of Transco’s recent construction status reports and our
      August 22, 2017 field inspection. We find that Transco has adequately stabilized areas
      disturbed by construction and that restoration is proceeding satisfactorily.

             I remind you that Transco must comply with all remaining terms and conditions of
      the Order. If you have any questions, please contact Nancy Fox-Fernandez at (202) 502-
      8559.

                                                                    Sincerely,



                                                                    J. Rich McGuire
                                                                    Director, Division of Gas-
                                                                    Environment & Engineering
      cc:     Public File, Docket No. CP15-89-000




                                                                                                   T019
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        Transcontinental Gas Pipe Line Company, LLC
        2800 Post Oak Boulevard (77056)
        P.O. Box 1396
        Houston, Texas 77251-1396
        713/215-2000



        September 11, 2017

        Federal Energy Regulatory Commission
        888 First Street, N.E.
        Washington, D.C. 20426

        Attention:      Kimberly D. Bose, Secretary

        Reference:      Transcontinental Gas Pipe Line Company, LLC
                        Garden State Expansion Project
                        Docket No. CP15-89-000
                        Notification of Placement into Service of Phase 1

        Ladies and Gentlemen:

        On September 8, 2017, Transcontinental Gas Pipe Line Company, LLC (“Transco”) received
        approval from the Federal Energy Regulatory Commission (“Commission”) to place into service
        the facilities constructed under Phase 1 of the Garden State Expansion Project. Pursuant to Section
        157.20(c)(2) of the Commission’s regulations under the Natural Gas Act, Transco hereby provides
        notice that the Garden State Expansion Project Phase 1 facilities were placed into service and
        commenced service on September 9, 2017.

        Respectfully submitted,

        TRANSCONTINENTAL GAS PIPE LINE
         COMPANY, LLC



        By: ______________________________________

                Marg Camardello
                Regulatory Analyst, Lead




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                                           WASHINGTON, D.C. 20426



      OFFICE OF ENERGY PROJECTS                                     In Reply Refer To:
                                                                    OEP/DG2E/Gas 2
                                                                    Transcontinental Gas Pipeline
                                                                         Company, LLC
                                                                    Garden State Expansion Project
                                                                    Docket No. CP15-89-000


      March 16, 2018

      Marg Camardello
      Regulatory Analyst, Lead
      Transcontinental Gas Pipe Line Company, LLC
      2800 Post Oak Boulevard (77056)
      PO Box 1396
      Houston, TX 77251-1396

      Re: Authorization to Commence Service, Phase 2

             I grant Transcontinental Gas Pipe line Company, LLC’s (Transco) March 9, 2018
      request to place into service Phase 2 facilities of the Garden State Expansion Project in
      Burlington and Mercer Counties, New Jersey. Your request is in compliance with condition
      number 9 of the Commission’s April 7, 2016 Order Issuing Certificate (Order) issued in the
      above-referenced docket. This authorization is based on our review of Transco’s recent
      construction status reports and our February 6, 2018 field inspection. We find that Transco
      has adequately stabilized areas disturbed by construction and that restoration is proceeding
      satisfactorily.

             I remind you that Transco must comply with all remaining terms and conditions of
      the Order. If you have any questions, please contact Nancy Fox-Fernandez at (202) 502-
      8559.

                                                                    Sincerely,



                                                                    J. Rich McGuire
                                                                    Director, Division of Gas-
                                                                    Environment & Engineering
      cc:     Public File, Docket No. CP15-89-000



                                                                                                   T023
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